       Case 1:17-cv-08789-MKV-RWL Document 94 Filed 05/06/19 Page 1 of 9




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                      X
JOSHUA SCHLEIFER, Individually, and on behalf              Civil Action No. 17-cv-08789 (AJN)
of all others similarly situated,

                              Plaintiff,

       v.

LEXUS OF MANHATTAN, ZIPWHIP, INC.,
BRAM AUTO GROUP, LLC,

                              Defendants.


                   Plaintiff Zipwhip, Inc.’s Reply to Plaintiff’s Opposition
                       and in Further Support of its Motion to Dismiss

       Defendant Zipwhip, Inc. (“Zipwhip”), by and through undersigned counsel, respectfully

submits this Memorandum of Law in further support of its Motion to Dismiss Plaintiff Joshua

Schleifer’s claims against Zipwhip in the First Amended Complaint, pursuant to Federal Rules of

Civil Procedure 12(b)(2) and 12(b)(6). In support thereof, Zipwhip states as follows:

  I.   SUMMARY

       Plaintiff’s April 29, 2019 Opposition (Dkt. No. 92) ignores Zipwhip’s declaration and

relies instead on misstatements of the legal standards and muddling of the allegations in his own

Amended Complaint with new, unpled allegations that are both unsupported and, in some

instances, demonstrably false. It is undisputed that Zipwhip is a “texting software provider.”

(See, e.g., Amended Complaint at ¶ 10; Opp. at 15.) Based on both Plaintiff’s allegations and the

extra-pleading evidence Plaintiff seeks to introduce, that remains the sum total of Zipwhip’s

relationship to this claim. Thus, Plaintiff offers no valid basis upon which this Court could exert

personal jurisdiction over Zipwhip.


                                                1
       Case 1:17-cv-08789-MKV-RWL Document 94 Filed 05/06/19 Page 2 of 9




        After conceding that this Court lacks general personal jurisdiction over Seattle,

Washington-based Zipwhip (Opp. at 5), Plaintiff relies on precedent that confirms specific

jurisdiction cannot be obtained.       Rather than present an argument to counter Zipwhip’s

declaration, Plaintiff misstates the law and requests that all facts should be taken in the light most

favorable to his arguments on Zipwhip’s 12(b)(2) motion. But Plaintiff’s naked assertions alone

cannot establish jurisdiction in the face of Zipwhip’s uncontested (and incontestable) declaration.

        Plaintiff’s failure to adequately plead a violation by Zipwhip fares no better.          The

Amended Complaint merely alleges that Lexus used Zipwhip’s software to contact Plaintiff.

Nowhere does the Amended Complaint allege that Zipwhip contacted Plaintiff (or otherwise did

anything improper).     Plaintiff’s new claims to the contrary—which appear nowhere in the

Amended Complaint—must be discounted. Plaintiff’s claims against Zipwhip can only survive

if the Court ignores the significant difference between a software provider such as Zipwhip, and

a person or company who actually sends text messages, which Zipwhip did not do and Plaintiff

does not allege. Moreover, Plaintiff’s Opposition does not, because it cannot, address the

Southern District of New York precedent in Melito v. Am. Eagle Outfitters, Inc., No. 14-cv-

02440, 2015 WL 7736547, at *4-5 (S.D.N.Y. Nov. 30, 2015), finding that the failure to directly

allege that the defendant actually sent the text messages at issue supports an order of dismissal.

Plaintiff cannot resuscitate his operative pleading by injecting new “facts” in his Opposition to

Zipwhip’s Motion to Dismiss.          Thus, Plaintiff’s claims should be dismissed for lack of

jurisdiction and failure to state a valid claim.

 II.    ARGUMENTS

        A. Plaintiff Cannot Establish Specific Jurisdiction Over Zipwhip

        Plaintiff’s Opposition adds nothing to the bald allegation that Zipwhip “regularly




                                                   2
      Case 1:17-cv-08789-MKV-RWL Document 94 Filed 05/06/19 Page 3 of 9




conducts business in the State of New York” (Amended Complaint at ¶ 10) which is insufficient

to survive a challenge under Rule 12(b)(2) that is supported by a declaration.

       As a threshold matter, Plaintiff asks this Court to accept the proposition that all facts must

be taken in the light most favorable to Plaintiff even if contradicted by Defendant’s declaration

(Opp. at p. 11). That is an incorrect statement of law within the context of a Rule 12(b)(2)

motion. Delgado-Perez v. City of New York, No. 17-CV-01194, 2018 WL 6200039, at *2–3

(S.D.N.Y. Nov. 28, 2018) (dismissing for lack of personal jurisdiction where the plaintiff “failed

to controvert the declarations of [the defendants]”); Cortlandt St. Recovery Corp. v. Deutsche

Bank AG, London Branch, No. 14-CV-01568, 2015 WL 5091170, at *2 (S.D.N.Y. Aug. 28,

2015) (“[T]he Court need not ‘accept as true a legal conclusion couched as a factual allegation,’

nor need it accept as true allegations controverted by the defendant’s affidavits.” (internal

citation omitted)); see also Pablo Star Ltd. v. Welsh Gov’t, 170 F. Supp. 3d 597, 605 (S.D.N.Y.

2016); Karoon v. Credit Suisse Grp. AG, No. 15-CV-4643, 2016 WL 815278, at *2 (S.D.N.Y.

Feb. 29, 2016).

       Plaintiff seeks to justify his baseless conclusion concerning Zipwhip’s conduct by citing

case law concerning resolution of doubt where “conflicting affidavits” are presented (Opp. at 4);

however, there is no conflict in this case. Mr. Chamberlain’s March 11, 2019 Declaration in

Support of Zipwhip’s Motion (Dkt. No. 82) is countered only by attorney argument and

conjecture. This is not a case with two feasible conclusions in the record. Plaintiff does not

present credible evidence to counter Zipwhip’s Declaration; thus, he must resort to arguments

concerning what is “likely,” offering vague theories concerning the individuals Zipwhip “may be

reaching,” and raising the prospect of profits that are not only outside the record, but invented

out of whole cloth. (See, e.g., Opp. at 8-9). Plaintiff cannot succeed by countering Zipwhip’s




                                                 3
      Case 1:17-cv-08789-MKV-RWL Document 94 Filed 05/06/19 Page 4 of 9




sworn declaration with hollow argument. DeGregorio v. Marriott Int’l, Inc., No. CV 17-3867,

2017 WL 6367894, at *2 (E.D. Pa. Dec. 13, 2017) (when movant’s declaration contradicts a

complaint’s allegations, the plaintiff must similarly contradict the moving declaration through

“actual proofs”); Daniel v. Mondelez Int’l, Inc., 287 F. Supp. 3d 177, 188 (E.D.N.Y. 2018)

(considering statements by declarant refuting various allegations integral to the complaint in

resolving motion to dismiss).

       That Zipwhip’s software platform was made available to a New York company is not

sufficient basis to haul Zipwhip into a New York courtroom. Plaintiff’s own case citations

confirm the impropriety of his argument. For example, Plaintiff cites the Second Circuit’s

decision in Best Van Lines, Inc. v. Walker, 490 F.3d 239 (2d Cir. 2007). (Opp. at 7-8). In Best

Van Lines, a New York plaintiff filed claims against an out-of-state website operator alleged to

have posted defamatory statements concerning the plaintiff. Id. at 240. The Second Circuit there

affirmed the dismissal of the website operator, finding the New York “long arm” statute did not

give the Court personal jurisdiction over the operator based on his website being viewed, and the

injury being felt, in New York. Id. at 254-55. While the tort of defamation has certain unique

qualities under the law, the fact remains that Plaintiff has failed to demonstrate why Lexus’

alleged use of the Zipwhip platform demonstrates purposeful availment of New York by the

company Zipwhip.

       Similarly, Plaintiff cites to Paterno v. Laser Spine Inst., 24 N.Y.3d 370 (2014) (Opp. at

8), which affirmed the dismissal of claims over a website operator for lack of personal

jurisdiction. The Paterno Court observed that the defendant’s making of its technology available

in New York was not the type of purposeful availment found to qualify as conducting business in




                                               4
      Case 1:17-cv-08789-MKV-RWL Document 94 Filed 05/06/19 Page 5 of 9




New York. Id. at 376. The same result is warranted here.1 Plaintiff’s long-arm argument fails

under the weight of his own case law.

       Plaintiff further argues that Zipwhip should be subject to jurisdiction in New York

because it permitted a New York business to purchase its software product, and that that software

product was allegedly used to send allegedly improper texts. (Opp. at 11.) Plaintiff presents that

argument now without any allegation in the Amended Complaint (much less evidence) that

Zipwhip actually knew the identity of Lexus’ alleged text recipients and without an allegation or

showing of any substantive involvement on the part of Zipwhip with the sending of any

purported text. Plaintiff seeks to analogize Zipwhip’s removed position from the alleged texts

with cases where the defendants affirmatively acted in New York. These analogies must fail.

       For example, Plaintiff references the Court’s findings in Citigroup Inc. v. City Holding

Co., 97 F.Supp.2d 549 (S.D.N.Y. 2000) and GTFM, Inc. v. Fubutu Home & Educ. Media, Inc.,

No. 01-cv-6595, 2003 WL 22439791, at *3 (S.D.N.Y. Oct. 27, 2003). (Opp. at 9.) But Plaintiff

misstates the impact and relevance of these cases. In both GTFM and Citigroup, the New York

plaintiffs allege that the defendants sent sales materials advertising products that infringed on the

plaintiffs’ trademark rights to third-party recipients in New York. That is significantly different

from Plaintiff’s allegation that Lexus used Zipwhip’s software program to send an allegedly




1
       The other cases cited by Plaintiff are similarly distinguishable from, if not outright hostile to,
       Plaintiff’s arguments. See Island Wholesale Wood Supplies, Inc. v. Blanchard Indus., Inc., 101
       A.D.2d 878 (1984) (finding jurisdiction where the defendant not only sold his machinery for use
       in New York, but then sent employees into New York to perform work under the contract);
       Parke-Bernet Galleries, Inc. v. Franklyn, 26 N.Y.2d 13 (1970) (finding jurisdiction where the
       foreign defendant actively participated telephonically in an auction occurring in New York and
       then refused to pay for items he won during that auction); George Reiner & Co. v. Schwartz, 41
       N.Y.2d 648 (1977) (finding jurisdiction in the “clearest sort of case” where the defendant
       travelled to New York and entered into an employment contract with the New York plaintiff).


                                                   5
      Case 1:17-cv-08789-MKV-RWL Document 94 Filed 05/06/19 Page 6 of 9




improper text to Plaintiff. In the context of the GTFM and Citigroup cases, Zipwhip is the non-

party manufacturer of printing machines used to make the materials, not the active defendant.2

       Ultimately, Plaintiff seeks to compel this Court to find jurisdiction by offering it the false

choice between keeping Zipwhip in this case or “allowing Defendant Zipwhip to avoid liability.”

(Opp. at 12.) That is not what the law demands. That Plaintiff would prefer to litigate against

Zipwhip in this forum is not sufficient grounds to obtain jurisdiction. It is well-established that if

Plaintiff wants to bring a claim against Zipwhip, his choice is not limited to his home venue;

rather, the proper court (if any) for Plaintiff to assert any claim he may believe he has against

Zipwhip is the United States District Court for the Western District of Washington.

       B. Plaintiff Misstates Zipwhip’s Rule 12(b)(6) Argument Because He Cannot Defeat
          it As Properly Presented

       Zipwhip has presented its argument under current and operative law, while Plaintiff relies

on outdated decisions that all arise before the Supreme Court’s seminal Twombly and Iqbal

decisions fundamentally altered the considerations for a properly stated claim. (Opp. at 13

(citing pre-Twombly and Iqbal cases for the 12(b)(6) motion to dismiss standards). Plaintiff asks

this Court to turn back the clock because his Complaint cannot possibly survive the appropriate

level of post-Iqbal scrutiny.

       While it is undisputed that Zipwhip is a texting software company, Plaintiff does not,

because he cannot, allege that Zipwhip was the party actually sending any text message to

Plaintiff. (See Amended Complaint at ¶ 10; Opening Br. at 9-12.) Despite the lack of any claim

alleged, Plaintiff now seeks to conflate the company and software of Zipwhip in his Opposition

by arguing that “Zipwhip directly called or enabled to be called, Plaintiff and members of the
2
       Further, Plaintiff’s multiple references to Zipwhip having waived formal service of process (see,
       e.g., Opp. at 2, 6) is, at best, irrelevant given the express language of Rule 4(d)(5) confirming that
       “[w]aiving service of a summons does not waive any objection to personal jurisdiction or to
       venue.”


                                                     6
      Case 1:17-cv-08789-MKV-RWL Document 94 Filed 05/06/19 Page 7 of 9




proposed class.” (Opp. at 10.) That allegation is baseless and contradicted by Plaintiff’s own

allegations. Because Plaintiff failed to allege that Zipwhip actually sent him a text, he has not

stated a valid claim under the TCPA. Melito v. Am. Eagle Outfitters, Inc., No. 14-cv-02440,

2015 WL 7736547, at *4-5 (S.D.N.Y. Nov. 30, 2015); see Opening Br. at 10-11. Plaintiff offers

no response to that argument.

       Plaintiff claims that the Court has already definitively ruled on this issue in his favor,

albeit before the Amended Complaint was filed and before Zipwhip was even a party to the case.

(Opp. at 14 (citing ECF No. 51)). While the Court’s Order allowing Plaintiff to amend his

Complaint admittedly did “emphasize[] the FCC’s definition of make to include those that

initiate calls, as well as those that cause calls to be initiated” (Opp. at 14), the fact is that the

Amended Complaint does not allege that Zipwhip initiated any calls (or text messages).

Similarly, the Amended Complaint nowhere alleges that Zipwhip caused any calls (or text

messages) to be initiated. See Amended Compl., passim.3

       Given the shortcomings of Plaintiff’s allegations, Plaintiff’s Opposition seeks to

introduce new facts arguing that Zipwhip sent text messages and contracted “to target New York

customers” (See, e.g., Opp. at p. 12, 14). Plaintiff’s new allegations are procedurally improper

because “[a] plaintiff may not use its opposition to a motion to dismiss to amend its complaint to

add new claims.” Gomez v. New York City Police Dep’t, 191 F. Supp. 3d 293, 297 n.3 (S.D.N.Y.

2016) (Nathan, J.); CAC Grp., Inc. v. Maxim Grp., LLC, No. 12 CIV. 5901 KBF, 2012 WL

4857518, at *1 n.1 (S.D.N.Y. Oct. 10, 2012) (“It is axiomatic, however, that a plaintiff cannot

amend a complaint with new allegations contained in an opposition to a motion to dismiss.”);



3
       In any case, per the precedent of Melito, Zipwhip could never be directly liable for text messages sent by
       others. See 2015 WL 7736547, at *4 (collecting cases for the proposition, which the Melito court adopted,
       “that the verb ‘make’ imposes civil liability only on the party that places the call or text.”).



                                                       7
      Case 1:17-cv-08789-MKV-RWL Document 94 Filed 05/06/19 Page 8 of 9




Brown v. City of New York, No. 14 CIV. 2668 PAE, 2014 WL 5394962, at *1 n.1 (S.D.N.Y. Oct.

23, 2014) (refusing to rely on allegations in affirmation submitted in opposition to motion to

dismiss). As detailed in the Opening Brief, Plaintiff’s Amended Complaint fails to allege direct

liability against Zipwhip. (Opening Br. at 9-12.) That Plaintiff would now seek to introduce

new arguments or allegations suggesting that Zipwhip was an actual sender of the text messages

or undertook some substantive, active role beyond what was alleged in his pleading is as

egregious as it is false.4

        Plaintiff’s Opposition does not even appear to contest Zipwhip’s assertion that the

Amended Complaint does nothing more than plead the elements of the TCPA and argue that

because the allegations concern text messaging, that is sufficient. (Opp. at 16-17.) Instead,

Plaintiff alleges that while calls and text messages are treated similarly under the TCPA (see,

e.g., Amended Compl. at ¶ 18), he asks this Court to impose a lower pleading standard for a text

message claim. (Opp. at 16 (arguing that pleading the “generic nature of the message” is

somehow the equivalent of pleading that an ATDS was used).) But Plaintiff offers no citation at

all for the proposition that the pleading standard should be lowered for text messages under the

TCPA. Instead, Plaintiff includes a discussion of Johansen v. Vivant, Inc., a foreign decision

that dismissed the plaintiff’s TCPA claims based on a failure to validly allege a claim. Id. In

this district, precedent confirms the opposite of Plaintiff’s proposed pleading standard. See, e.g.,

Rotberg v. Jos. A. Bank Clothiers, Inc., 345 F. Supp. 3d 466, 479-80 (S.D.N.Y. 2018) (granting

motion to dismiss in text message case because mirroring of statutory elements is insufficient);

see Opening Br. at 13-15.



4
        Similarly, Plaintiff desperately seeks to salvage his claims by suggesting that the Court should
        conflate Zipwhip and Lexus by arguing that allegations against Lexus from the original complaint
        and framed against a singular “Defendant” should be read to include Zipwhip as well.


                                                   8
       Case 1:17-cv-08789-MKV-RWL Document 94 Filed 05/06/19 Page 9 of 9




III.   CONCLUSION

       For the reasons stated herein, and for those presented in Zipwhip’s Motion to Dismiss,

the Amended Complaint should be dismissed as to Zipwhip.



Dated: Parsippany, NJ                     Respectfully submitted,
       May 6, 2019

                                              By:    /s/ Paul A. Rosenthal
                                                     Paul A. Rosenthal
                                                     KELLEY DRYE & WARREN LLP
                                                     One Jefferson Road
                                                     Parsippany, NJ 07054
                                                     Tel.: (973) 503-5900
                                                     paulrosenthal@kelleydrye.com

                                                     Bezalel A. Stern
                                                     KELLEY DRYE & WARREN LLP
                                                     3050 K Street N.W., Suite 400
                                                     Washington, D.C. 20007
                                                     Tel.: (202) 342-8422
                                                     Fax: (202) 342-8451
                                                     bstern@kelleydrye.com

                                                     Counsel for Defendant Zipwhip, Inc.




                                             9
